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                     Exhibit N
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Trump Wanted to Order Justice Dept. to
Prosecute Comey and Clinton
By Michael S. Schmidt and Maggie Haberman

Nov. 20, 2018

WASHINGTON — President Trump told the White House counsel in the spring that he wanted to
order the Justice Department to prosecute two of his political adversaries: his 2016 challenger,
Hillary Clinton, and the former F.B.I. director James B. Comey, according to two people familiar
with the conversation.

The lawyer, Donald F. McGahn II, rebuffed the president, saying that he had no authority to order
a prosecution. Mr. McGahn said that while he could request an investigation, that too could
prompt accusations of abuse of power. To underscore his point, Mr. McGahn had White House
lawyers write a memo for Mr. Trump warning that if he asked law enforcement to investigate his
rivals, he could face a range of consequences, including possible impeachment.

The encounter was one of the most blatant examples yet of how Mr. Trump views the typically
independent Justice Department as a tool to be wielded against his political enemies. It took on
additional signiﬁcance in recent weeks when Mr. McGahn left the White House and Mr. Trump
appointed a relatively inexperienced political loyalist, Matthew G. Whitaker, as the acting
attorney general.

It is unclear whether Mr. Trump read Mr. McGahn’s memo or whether he pursued the
prosecutions further. But the president has continued to privately discuss the matter, including
the possible appointment of a second special counsel to investigate both Mrs. Clinton and Mr.
Comey, according to two people who have spoken to Mr. Trump about the issue. He has also
repeatedly expressed disappointment in the F.B.I. director, Christopher A. Wray, for failing to
more aggressively investigate Mrs. Clinton, calling him weak, one of the people said.

A White House spokesman declined to comment. A spokeswoman for the F.B.I. declined to
comment on the president’s criticism of Mr. Wray, whom he appointed last year after ﬁring Mr.
Comey.

“Mr. McGahn will not comment on his legal advice to the president,” said Mr. McGahn’s lawyer,
William A. Burck. “Like any client, the president is entitled to conﬁdentiality. Mr. McGahn would
point out, though, that the president never, to his knowledge, ordered that anyone prosecute
Hillary Clinton or James Comey.”
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It is not clear which accusations Mr. Trump wanted prosecutors to pursue. He has accused Mr.
Comey, without evidence, of illegally having classiﬁed information shared with The New York
Times in a memo that Mr. Comey wrote about his interactions with the president. The document
contained no classiﬁed information.

Mr. Trump’s lawyers also privately asked the Justice Department last year to investigate Mr.
Comey for mishandling sensitive government information and for his role in the Clinton email
investigation. Law enforcement ofﬁcials declined their requests. Mr. Comey is a witness against
the president in the investigation by the special counsel, Robert S. Mueller III.

Mr. Trump has grown frustrated with Mr. Wray for what the president sees as his failure to
investigate Mrs. Clinton’s role in the Obama administration’s decision to allow the Russian
nuclear agency to buy a uranium mining company. Conservatives have long pointed to donations
to the Clinton family foundation by people associated with the company, Uranium One, as proof of
corruption. But no evidence has emerged that those donations inﬂuenced the American approval
of the deal.




           Mr. Trump has expressed disappointment in the F.B.I. director, Christopher A. Wray, for
           failing to more aggressively investigate Mrs. Clinton. Al Drago for The New York Times



Mr. Trump repeatedly pressed Justice Department ofﬁcials about the status of Clinton-related
investigations, including Mr. Whitaker when he was the chief of staff to Attorney General Jeff
Sessions, according to a person with direct knowledge of the conversations. CNN and Vox earlier
reported those discussions.
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           COMMENT OF THE MOMENT


                  Too Bad                                                                         Times Pick
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                  60610 | Nov. 21
                  But he didnʼt. Settle down Libs he didnʼt do it. Sounds like he vented and they properly
                  ignored him.

                  This daily outrage only serves to inure the public to real problems..

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In his conversation with Mr. McGahn, the president asked what stopped him from ordering the
Justice Department to investigate Mr. Comey and Mrs. Clinton, the two people familiar with the
conversation said. He did have the authority to ask the Justice Department to investigate, Mr.
McGahn said, but warned that making such a request could create a series of problems.

Mr. McGahn promised to write a memo outlining the president’s authorities. In the days that
followed, lawyers in the White House Counsel’s Ofﬁce wrote a several-page document in which
they strongly cautioned Mr. Trump against asking the Justice Department to investigate anyone.

The lawyers laid out a series of consequences. For starters, Justice Department lawyers could
refuse to follow Mr. Trump’s orders even before an investigation began, setting off another
political ﬁrestorm.

If charges were brought, judges could dismiss them. And Congress, they added, could investigate
the president’s role in a prosecution and begin impeachment proceedings.

Ultimately, the lawyers warned, Mr. Trump could be voted out of ofﬁce if voters believed he had
abused his power.

Mr. Trump’s frustrations about Mr. Comey and Mrs. Clinton were a recurring refrain, a former
White House ofﬁcial said. “Why aren’t they going after” them?, the president would ask of Justice
Department ofﬁcials.

For decades, White House aides have routinely sought to shield presidents from decisions related
to criminal cases or even from talking about them publicly. Presidential meddling could
undermine the legitimacy of prosecutions by attaching political overtones to investigations in
which career law enforcement ofﬁcials followed the evidence and the law.

Perhaps more than any president since Richard M. Nixon, Mr. Trump has been accused of trying
to exploit his authority over law enforcement. Witnesses have told the special counsel’s
investigators about how Mr. Trump tried to end an investigation into an aide, install loyalists to
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oversee the inquiry into his campaign and ﬁre Mr. Mueller.

In addition, Mr. Trump has attacked the integrity of Justice Department ofﬁcials, claiming they
are on a “witch hunt” to bring him down.




            Mr. Trump has accused the former F.B.I. director James B. Comey, without evidence, of
            illegally having classiﬁed information shared with reporters.
            Justin Tang/The Canadian Press, via Associated Press



More signiﬁcant, Mr. Mueller is investigating whether the president tried to impede his
investigation into whether any Trump associates conspired with Russia’s campaign to sow
discord among the American electorate during the 2016 presidential race.

Mr. Trump stoked his enmity for Mrs. Clinton during the campaign, suggesting during a
presidential debate that he would prosecute her if he was elected president. “If I win, I am going
to instruct my attorney general to get a special prosecutor to look into your situation,” Mr. Trump
said.

“It’s just awfully good that someone with the temperament of Donald Trump is not in charge of
the law in our country,” Mrs. Clinton replied.

“Because you would be in jail,” Mr. Trump shot back.
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During the presidential race, Mr. Whitaker, a former United States attorney, also said he would
have indicted Mrs. Clinton, contradicting Mr. Comey’s highly unusual public announcement that
he would recommend the Justice Department not charge her over her handling of classiﬁed
information while secretary of state.

“When the facts and evidence show a criminal violation has been committed, the individuals
involved should not dictate whether the case is prosecuted,” Mr. Whitaker wrote in an op-ed in
USA Today in July 2016.

Two weeks after his surprise victory, Mr. Trump backed off. “I don’t want to hurt the Clintons, I
really don’t,” Mr. Trump said in an interview with The Times. “She went through a lot and
suffered greatly in many different ways, and I am not looking to hurt them at all. The campaign
was vicious.”

Nonetheless, he revisited the idea both publicly and privately after taking ofﬁce. Some of his more
vocal supporters stirred his anger, including the Fox News commentator Jeanine Pirro, who has
railed repeatedly on her weekly show that the president is being ill served by the Justice
Department.

Ms. Pirro told Mr. Trump in the Oval Ofﬁce last November that the Justice Department should
appoint a special counsel to investigate the Uranium One deal, two people briefed on the
discussion have said. During that meeting, the White House chief of staff, John F. Kelly, told Ms.
Pirro she was inﬂaming an already vexed president, the people said.

Shortly after, Mr. Sessions wrote to lawmakers, partly at the urging of the president’s allies in the
House, to inform them that federal prosecutors in Utah were examining whether to appoint a
special counsel to investigate Mrs. Clinton. A spokeswoman for the United States attorney for
Utah declined to comment on Tuesday on the status of the investigation.

Mr. Trump once called his distance from law enforcement one of the “saddest” parts of being
president.

“I look at what’s happening with the Justice Department,” he said in a radio interview a year ago.
“Well, why aren’t they going after Hillary Clinton and her emails and with her, the dossier?” He
added: “I am not supposed to be doing the kind of things that I would love to be doing. And I am
very frustrated.”


Michael S. Schmidt reported from Washington, and Maggie Haberman from New York.

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